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December 2, 2019

VIA ECF

The Honorable Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Zhou et al v. Sizung, Inc. et al; Case No. 1:19-cv-10503-PGG

Dear Judge Gardephe:

We represent Plaintiffs in the above referenced matter. We write, pursuant to the Clerk of the
Court’s referral of the Plaintiffs’ Notice of Voluntary Dismissal, without prejudice to refiling, to
Your Honor for approval. See Dkt. No. 15; see also Dkt. Entry dated Nov. 27, 2019. Last week
our Firm confirmed that Defendants no longer have operations in the United States when our
retained process server attempted service at the only known business address and was credibly
informed that the owners had moved out of the country and no longer conducted any business
operations in the United States. Plaintiff’s counsel independently confirmed this fact through other
sources. Further, Plaintiffs’ counsel has not been able to locate any other US based business
addresses and recent social media postings have confirmed that the owners have relocated to Japan.
Other privileged and nonpublic facts were learned during the course of our recent due diligence
that influenced our decision to seek dismissal.

As such, Plaintiffs’ counsel has provided Plaintiffs with electronic copies of their case file pursuant
to our ethical obligations and advised them of all relevant statutes of limitations. Plaintiffs’ counsel
will not seek any fees and will not assert a lien on the matter.

Based on the above reasoning, Plaintiffs' counsel respectfully request that the Court enter the
Notice of Voluntary Dismissal, without prejudice to refiling, to allow the Plaintiffs to evaluate
their litigation positions and if they so choose, to obtain new counsel.

We thank the Court for its prompt consideration of this matter.


Respectfully submitted,
/s/
Christopher Q. Davis, Esq.



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